5/29/24, 4:01 PM    Case 1:24-cv-04108-ALC              Document
                                                             43553-18
                                                                 Grace Ave Filed
                                                                           - Google05/30/24
                                                                                    Maps               Page 1 of 1

                                 4355 Grace Ave


            New York

                   Google Street View

            Feb 2022     See latest date




                                                                                                  Image capture: Feb 2022   © 2024 Google




https://www.google.com/maps/@40.8978626,-73.8474669,3a,41.3y,91.77h,88.56t/data=!3m7!1e1!3m5!1sYV-QDD8nw7Xjpb3Oxvb6xQ!2e0!5s202202…         1/1
